Case 2:17-cv-00160-SDW-LDW Document 8 Filed 09/06/17 Page 1 of 2 PageID: 251




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  Attorneys for Plaintiff, Super 8 Worldwide, Inc., fbrmerly known as Super 8 Motels, Inc.

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  SUPER 8 WORLDWIDE, INC., fonnerlv
  known as SUPER S MO iLLS, [NC., a South             knvll AcuonNo, 17-cv-160 (SDW’i(LDW
                                                                               1
  Dakota Corporation,

                 Plaintiff,                             FINAL JUDGMENT BY DEFAULT
  v,

  KIRPEKAR’S, a Sole Propnetor;              and
  KUNAL KIRPEKAR, an individual,

                 Defendants.




         This matter having been opened to the Court by plaintiff, Super S Worldwide, Inc.. fbrmerly

  known as Super 8 Motels, Inc. ç’SWI”), by its attorneys, LeClairRyan, seeking the entry of Final

  Judgment by Default against defendants. Kfrpekar’s and Kunal Kirpekar, pursuant to Fed. R Civ. P.

  55(b)(2); and it appearing C at the Complaint in this matter was filed on January 10, 2017, seeking

  damages as a result of the breach of a franchise agreement between SWI and Kirpekar’s; and

  service of the Summons and Complaint having been effectuated with respect to defendant

  Kirpekar’s by personally serving its anthorized representative in Long Prairie, Minnesota on

  February 6, 2017; and service of the Summons and Complaint having been effectuated with rcspect

  to defendant Kunal Kirpekar by personally serving him in Long Prairie, Minnesota on February 6.
Case 2:17-cv-00160-SDW-LDW Document 8 Filed 09/06/17 Page 2 of 2 PageID: 252




  2017: and it appearing that default was duly noted by the Clerk of the Court against defendants on

  May 1. 2017 for their failure to plead or otherwise defend in this action; and the Court having

  reviewed the papers; and good cause havinbbn shoru
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                                                              ,   2017,

                 ORDERED, AD.JIJDGED, D
                                      4 DECREED that SWI have judgment against

  Defendant in the total amount of 81 30,881 .15 for Recurring Fees (principal plus preiudgment

  interest).



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